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United States District Court

SOUTHERN DISTRICT OF CALIFORNIA

Stephens et al v. Dr. Greens, Inc.

Civil Action No. 11-cv-00638-JAH-KSC

JUDGMENT IN A CIVIL CASE

 

 

Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the
Jury has rendered its verdict.

It IS HEREBY ORDERED AND ADJUDGED:

JURY VERDICT in favor of Plaintiff Spectrum Laboratories, LLC against Dr Greens, INC., Matthew
Green.

Date: 3/29/19 CLERK OF COURT

JOHN MORRILL, Clerk of Court
By: s/ Larry McDowell

Larry McDowell, Deputy
